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Exhibit 1
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Case 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VE0rP-dl6LA-SSA ¥ xX ce’ Nid SA 1MOND preach] _wsn vX ces Nid SAIMOND peel plescl] AW v xX ZeS Nid SIMON pleael
VE0bb-dZ6ZA-SSA v €&X2eS Nid STIMOND eleect| wsn EX ces Nid SAIMON eleeet éteect| AW ¥ €€X ZeS Nid SSIMON eleaeb
Ve0bb-dZ62A-SS4 ZLeXceg Nid SHIMON zbeeel]| vsn ZLEX eS Nid SAIMOND zbesel zheecl| AW ZLEX ces Nid SA IMON zbeseb
VE0br-d/6LA-SSA PL € X ces Nid SIMON Lbeezi} vsn LEX zeS Nid SHIMON Lbeezt Lisect} AW Lex ces Nid SATMON Lbeeal
We0rb-dZ6lA-SSA €X Ze/$ Nid SS 1IMONM oreset] vsn €XZelS_Nid SHIMON ObesZl oveszt| AW €XZe/S Nid SHIMONM obesel
Ve0rr-d/62A-SS4 VE ZX ce9 Nid SHIMON 60eael| VSN VE cx Z's Nid SAIMOND 60eeel eocect| _AW ve 2 X ceS Nid SIMON 60E8cL
WE0bP-d/6LA-SSA VLZX Ze Nid SIMON zZoeezl| wSn Lex ees Nid SIMON LOeget 2oeezt}] AW vt ZX ces Nid SIMON ZOESZL
Ve0rr-d/6/A-SS4 LY X SE Nid SSIMONH gezscl|_wsn VL bX 8'T Nid STIMON sezecl gezezt| AW vLYX 81 Nid SSIMON gaceel
VE0bp-dL6LA-SSA 7X Bt Nid SSIMON pececl| vsn % XO Nid SIMON pezseb pecect| AWN vX 8! Nid SIMON y8zezl
Ve0rr-di6A-SS4 VE €X8ENid SAIMONH eacecl| vsn VE €XST Nid SIMON €acech escect| AW VE €XBLNId SAIMON eacecl
VEObP-d6LA-SSA ZLEXSL Nid STIMONH zeceet] vsn ZEEX ST Nid STIMON zezech zececl| AW ZLE XT Nid SIIMONH zeeael
VE0rP-dZ6ZA-SSA 7LEX ST Nid SIMON Lezezt} vsn VLEX OT Nid SIMON Lezeeb Lecect| AN VLE XSF Nid SHIMON Lazecl
WEObP-d/6A-SSA € X 8/t Nid STIMOND oszezt|_vsn € X 9/1 Nid SIMON)! ogzeel oscezl| AW € X 8/L Nid SSIMONM o8zecl
WE0bP-d6LA-SSA Nid Hivad z6lecl] vsn Nid HLVag Z6L8Eb zelect| AW Nid HLV3g 26182)
We0rb-dl6ZA-SSA 6xXOl/e GAdAL IS Nid elect] vsn 6xol/e G AdAL 1S Nid 6Elecl 6eLecl] AW 6XOL/E G AdAL LS Nid 6Elazb
Weorr-d/6lA-SSd 6X9H/E 0 AdAL LS Nid selec] vSsn 6X9L/E D SdAL LS Nid geleel gelezit AW 6X9L/E DO AdAL LS Nid geleer
WE0bP-d6/A-SSA 6Xb9/6 0 SdAL 1S Nid gLiael|_wsn 6Xv9/6 O AdAL LS Nid SLL eZt alrset| AW 6XP9/6 0 AdAL 1S Nid at Lgel
VE0r-dL6LA-SSA 6xb9/6 @ AdAL LS NidJ- Zileet] vsn 6Xb9/6 G SdAL LS Nid ZLL8Zb Ziiszt| AW 6Xv9/6 @ AdAL 1S Nid Zibeeb
Ve0rr-d/6ZA-SS4 6X8/l 0 AdAL IS Nid gorezl] vsn 6X8/t 0 AdAL IS Nid g0Lecl solect| AW 6X@/- 0 AdAL LS Nid soldat
Ve0rr-d/6A-SS4 6X@/l d AdAL LS Nid Zole2l] _vsn 6Xa/l Gd 3dAL 1S Nid ZOL8eb Zoleci| _AW 6X@/L @ SdAL LS Nid ZOLSZL
VE0rr-dZ6A-SS4 6XP9/L OD AdAL 1S Nid g60eet| vsn 6XP9/Z 0 AdAL 1S Nid g60szb a6oszt| AW 6XP9/Z O AdAL LS Nid g60eZb
VE0bd-dl6ZA-SSA 6XP9/2 @ AdAL LS Nid Ze0e2t] vsn 6Xv9/2 @ 3dAL 1S Nid Z60821 Zeoszt| _ AW 6XP9/L  AdAL LS Nid Z6081
Ve0rr-d/6LA-SSA WO Ld @ 21xz90" SUI pooset| vsn WO Id @ cbXxc90" JIM 7908zl pooezl| AW WO ld 2 cbXxz90" 4uIM y908el
Ve0rr-d/6/A-SS4 WO Id @ 6xz90 SHIM zooezt} vsn Wd Id 2 6xz90 AMIN ze0ect zgoezl| AW Wa Ld 2 6xe90° SIM zZ9082t
Ve0rr-dl6ZA-SSA Wd ldz 2xz90° Sai bgosz}| vsn WO Ide 2xz90" SIN L90gzb Lgogzt] _AW WO ldz 2X290° SIMI L908z1
We0br-d/6LA-SSA Wd Ldz $XZ90° SUA ds0gzt] WSN WC Ldz $X290° JIM 090821 o908z-] AW Wd Ldz $xz90° Su 0908z1
VE0bP-d6/A-SSA WWOPL X 6'L Id ONL SUI esoecL| vsn WAOPL X6'l 1d ONL SIM eS0eel esoezl] AW WWOPl X 6b id OWL SeIMI gg0eZb
We0rr-dZ6ZA-SSA UL Lde Xe90" SMI ososzl| _vsn UL Ldz ¥X290° SYIM 0G08ZL osogzt| AW UL ide #XZ90° SUM os0gel
We0rr-dZ6ZA-SS4 WG 1d Z1XSb'0 SUIM vrosel] vsn WO Ld 2bxSh 0 Jui ppogal proszt| _AW WG Ld Z/XS?0 SuIM pboeel
VE0bP-dLELA-SSA Wd idz 6xSr'0 SelM Zposet| vsn WG Ldz 6XS¥0 AMIN ZposZl zpoget| _AW WO ldz 6XSP°0 aMIM ZpOsel
VWeE0by-d L6ZA-SS4 Z2tXVb Ld GNWGe aeIM> oposel| vSsn Z21Xt'b ld GNWe auIM ovoszl ovoscl| AW Zetxt 1d GNWOe Sui Ov0ezl
WE0bP-d/6LA-SSA Ul Ld} XS AMIN Leosz}| vsn UL Ldl bXS¢0° SNM Le0ecl Lé0ezt} AW UL Ld XO" SHIM Leoeet
WE0r-dZ6ZA-SSA UL Lde XS TMI ocoget] VSN UL Ld oxXSh0 ANIM Of08ZL ocogz!| AW UL lde bXSbO" AMIN O08ZL
Ve0pr-di6lA-SS4 UL 1dz pX8z0 TMIM Zooszty_vsn UL Lde bX8Z0 SYIM 200821 Zooszt| _AW UL dz PX8Z0" SMI Z008Z)
We0br-d/6/A-SSA UL Ldé $X8Z0 SMA soosel| vsn UL Ldz 6X8Z0° SUI g00gzl googzt| _ AW UL Ide #X8z0" SYIMI g00gz)
WE0rr-dZ6ZA-SSA 6XOLE MHL LS Nid dooset] VSN 6XOL/e UHL LS Nid 000821 oooszl} AW 6X91/E UHL LS Nid o00gZt
Veorr-d/6ZA-SS4 6XON/E G AdAL UHL LS Nid Zesielf VSN 6xO1/€ C 3dAL MHL LS Nid L66Zet Z6622!| _AW 6xOl/e G AdAL MHL LS Nid Ze6Zzb
Ve0br-d/6ZA-SS4 6XZe/S G AdAL MHL LS Nid 26221] WSN 6xze/S G AdAL MHL 1S Nid Z6Leb Zi62z1] __AW 6xze/$ G SdAL UHL IS Nid ZL6Lz1
WE0br-d/6LA-SSA 6X8/1 V SdAL MHL LS Nid veel] vsn 6X9/l VadAL MHL LS Nid yeelzb veelel} AW 6X@/L V AdAL MHL LS Nid veeleb
Ve0rr-dZ6LA-SSA 6XP9/Z MHL LS Nid ozezeH} VSN 6Xv9/2 UHL LS Nid ozelet oz6Zzt| AW 6Xr9/2 UHL LS Nid ozedeb
Ve0rb-d/6/A-SS4 6XP9/Z G AdAL MHL LS Nid Z162z}| VSN 6XP9/Z G SdAL MHL LS Nid Zb6Z21 ZiGizt| _AW 6XP9/Z G AdAL MHL LS Nid ZV6ZEL
VE0rb-d/6/A-SS4 6XPO/L WV SdAL MHL LS Nid ylézer] vsn 6XP9/L V AdAL MHL LS Nid yl6leb vl6Zzl| __AIN 6Xb9/Z W AdAL MHL 1S Nid pl6lel
Ve0br-dZ6LA-SSA 6xze/e Id GING MHL LS Nid LoeZzl|_wsn 6xze/é 1d GWA YH LS Nid LOBzZzt Loezet] AW 6Xze/e 1d GWG MHL LS Nid LO6Ze1
VE0rb-d/6/A-SS4 6XSb0 HHL ANIM ovezet] vsn 6XS~0 MHL AMIN OvelZl Ovezzl| AW 6X$~0 UHL SUM ovezel
Ve0rr-d/6ZA-SS4 6XSE0 1d GWG MHL Sui veszet] Wsn 6X60" 1d GW MHL AuIM-y T2ezzb Lzazel} AW 6xSe0" 1d GWG SHL aa bese
VE0br-d6LA-SSA 6XGE0 HHL ANIM ozezel] vsn 6XSE0 HHL FNM ozsiet oeszzi| _ AW 6XS€0 MHL ANIM deelzl
Ve0rb-dZ6LA-SSA dHPXSEX0S) Ld ADM Nae ls oosszt] vsn dHPXGEXOS) Id AO/M NduLis 008Sz1 oogszt| AW AHPXSEXOGL Id AOIM Nd lS 008Sz
Weorr-di61A-SSA dH SX0SX0$1 Nid NOILYXI4 Lyset] vsn dH SX0SX0S1 Nid NOILVXId LpSpel beeret] AW dH $X0SX0S1 Nid NOILVXI4 Lperel
VE0Pr-d/6LA-SSA dH SXS¢X0S Nid NOILVXI4 orerel| vsn dH SXSbX0S} Nid NOLLVXI4 orerel overzt| AW dH SXSPX0S1 Nid NOILVXI4 ObereL
VE0brP-d/6/A-SSA dH SX0PX05) Nid NOILVXI4 6eerel] VSN dH SX0PX0S) Nid NOILVXI4 Geevel eeayel| AW dH SX0¢X0ST Nid NOILVXId 6eevel
Ve0bb-d/6ZA-SSA dH SXS€XxOSt Nid NOILYXI4 sesvel} vsn dH SXG€X0S) Nid NOILWXi4 sesber eesrel| AW dH SXS€X0SE Nid NOILVXId sesvel
WE0rP-dIGLA-SSA dH SX0€X0S1 Nid NOILVXI4 Zeabel] vsn dH SX0EXOST Nid NOLLVXI4 Zeerel Zeerel| AW dH SX0€X0S1 Nid NOILWXId Teaver
VE0rr-dL6LA-SSA dH SXS@X0S! Nid NOILVXId gear] vsn dH SXSeX0S) Nid NOILVXId gesyel gesvel| _AW dH SXSZX0SF Nid NOILVXIs 9esrel
We0rr-d/6ZA-SSA $Xx00z SAOO/M Nd OVYL IS vesrel] VSN §X00z SAOO/M Nd OVUL MS vesrel vesrel] AW $x002 SAOO/M Nd OVUL YS peavel
Ve0rr-d/6iA-SS4 dH SX0SX0S? Id AD/M Nd UL eesret] vSn dH SX0SXO0SI Ld AO/MA Nd UL eeever eéevzt| AWN dH SX0SX0SE td AO/M Nd UL eeepel
Ve0bb-d16LA-SSA dH SXSEX0S1 Id AO/MA Nd SL zeevell vsn dH SXGEX0S) led AO/M Nd UL Zeevel zeavel| AW dH SXSEX0S) id AQIM Nd UL ZESvEL
Ve0rb-di6A-SS4 dH ¥X0SX0S) 1d AO/AA Nd UL Lésvelf vsn dH PXOSXOSP Id AO/M Nd UL Lespel Lespel| AW dH PXOSX0S1 Ld AIM Nd UL Learel
WE0rr-dLGLA-SSA dH €XBeXSZ Ld AO/M Nd UL oserzl| VSN dH €X82XGZ 1d AO/M Nd UL oesrel oceret| AW dH €X8eXSZ Id AD/MA Nd UL oesrzl
VE0rr-d6A-SSA dH €X91bX09 Ld AIM Nae LiS azaret] vsn dH €X9FX09 Ld AO/M Ndu LS seevel ezevel] AW dH €X9tX09 Id ADM Nd¥ LIS azerel
Ve0rb-dZ62A-SS4 dd SX09X0G2 Ld AO/M Nd YL Zeavel] vsn ds SX09X0S2 Id AO/M Nd UL Leave Zeavet| AW dd SX09X0G2 Ld AO/M Nd YL Zeevel
VE0rr-d6LA-SSA dd SX0SX0S¢ 1d AD/M Nd UL gesvel|_vsn da SX0SX0G2 1d AO/M Nd UL ezeyel ozerel] __ AW dd SX0SKOSZ Id ADIM Nd UL geevel
We0by-dZ6ZA-SSA dd SX0vxX0S2 Id ADIN Nd UL gzerel] vsn ds SX0bX0G2 1d ADM Nd UL szevel Gzevel| AW dal SX0PX0SZ Ld AD/M Nd YL gzaber
Ve0br-dl6LA-SSA dd ¥X09X00E Id ADM Nd UL vesvely VSA dd PX09X00E Ld AD/M Nd HL vesvel vesbet| AW da PX09X00€ Id AD/AA Nd UL peapel
WE0bp-dZ6LA-SSA GOEXP'S Nid 309 MHL dil Zari] vsn GOEXP'S Nid 309 MHL dil Zv9L LL Zvott| AW SOEXP'C Nid 309 MHL dIL Zoli

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Gojeye9 jeoynsoeueyg-UON Bingpay 00], Yoreag Boleye9 JoRNUOD = 1$99
SUSqa;nA ainpayos splemy aidqInW UoyeysiuUpy sdolAles jeleuag = WSO

 

eishejewW = AW
past] UBC Jo AUNCD = OOD
mauden 9 UWS = N 8S
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Ve0rb-dZ6ZA-SSA d0uw 32GINd dil Tiva WWoo9 gcos99lZ] vsn GO" SdINd dil Tiva WWoo9 gzosgolZ gc0s99l2 AW gOw 3dINS dil Tivd WWoo9 9z0sggls
Ve0rr-dZ6ZA-SS4 (08) sexet 1} 109 O TIVN SSN sevecolZ] VSN (Os) sexet $ a109 0 TivN S3Ny SCPEEOLL GCPEEOLL AW (os) sexe!  d109 O JIVN SAN StveEglZ
Ve0rr-dZ6ZA-SS4 GLL/OULAY O€X0l G109 TiVN SSNY oeceeol zi VSN glL/OULAY O€XOL A109 TIVN SSNyM oecEecolLZ OEcecoLs AW giL/OYUL3Y O€XOl C109 TIWN SSN O€cecols
Veorr-dZ6ZA-SSA SYIM ACINS GAGVSYHL dil Ze osgleglézi VSN SuIM AGINS GAGVSYHL dil Ze O6gLegls O69LE912) AW SYIM SCIND GA0VEMHL dil 2’ O69LEOLL
Ve0bb-dZ6Z4A-SS4 WWS81 Nid +d WW2'2 YOL served tz vSn WINS) Nid dd WAZ 2 HOL BEvELLLL BErest LZ AW WINS! Nid 4d WW2'¢ YOL SEvELLbL
Veorr-d/6ZA-SSd WO? Nid dd WAWZ'2 HOL QOvEZLLZT VSN WO? Nid dd WAZ YOL 9OPEZELZ QOPELLLZ AW WIWO?r Nid dd WW2'2 HDL QOPEZLLLZ
Veorr-dZ6ZA-SSA WWose X WO’? SYIMY YOL bgeeZbL Zt WSN ININIOSE X WIN’? AYIMY YOL beeestls b8ceZLbZ AW WWOSE X WWO'2 SHIM YOL LSEE/LLL
Veorr-dZ6ZA-SS4 WINO? Nid dd WWS'e SceesLLAT WSN WINOF Nid dd WIS'€ sceedb bs STEEL L AW WIN0? Nid Jd WWS'e GZeell td
Ve0rr-dZ6ZA-SSA WIW8! Nid dd WWS'E yceesbbé| WSN WINS? Nid dd NWS" vecedlbd PEeEL LZ AW WW81 Nid dd WWS'€ VEEELLLL
Ve0vb-dZ6Z4A-SSA WIW81 LOANNOO OV @ Nid 4d WWO'S OceeZbEZ] VSN WWI8} LOAINNOO OV 0 Nid 4d INWO'% oceeZ EZ OceEd LZ AW WSL LOANNOO OV @ Nid Jd WNO'Z OceEsLhZ
Ve0rr-dZ6ZA-SSd WIS6ex8l Ws" Sivid avoud SLcLpLL dy VSN WIWsS6eXx8l WWS'? 3LV1d GVOUd BLCLPLIL SbcLvLLZ AW WINS6CX8L WS’? SLVId dVvONd SLCLbL LZ
Ve0rr-dZ6ZA-SSA WWegexs! WWS'y aLVid GvOoud QLZLPLL Ag VSN WWe9ex9! WWS'’ SLV Id GvOud Qbebyb bd QLELVLLL AW WWE9CX9L WIS’? Sivid GvOua Olebel bd
Veorr-dZ6ZA-SSA WIS'e WWebexo?d SV 1d TIVINS OccovLL Z| VSN WINS’€ WIWerex0? SLV 1d TIVINS OfZOFLLZ Ozzorvlbd AW WIWs"e WAZrex0e 3LVId TIVNNS OcOrLLZ
Veorr-dZ6ZA-SS4 WINS’ WWY6LX9L ALWId TIVWS gbcorliéT VSA WIWs'€ WWY6LX9!) SLV Id TIVWS QbCOPLEL QLZOPLLZ AW WWSs'e WAP6LX9L FLV Id TIVNS QLZOVLLZ
Ve0rb-dZ6ZA-SS4 WWS'e WNGSLX¢L ALVId TIVAS yLeOvlbZ| WSN WINS'€ WIWG9LXPL LW Id TIVWS VLZOVLLL vLZOPEL. AW WINS'€ INWGSLX¢t SLW 1d TIVINS PLCOPE LZ
VE0rr-dZ6ZA-SSA WINS’e WWSPLXcl A1V1d TIVAS cLcovll di WSA WINS'e WINSPEXCL 31Vid TIVNS ZLZOVELL cLCOVL LL AW WINS'e WWSPlXcL 3LV 1d TIVWS CLcOPLEZ
Ve0bb-dZ6Z4A-SSA WINS’e WASex? SLW1d TIVINS cocorild| VSN WIS" WWSexe SLV1d TIWWS ZOCOPLLL cOcOvL EZ AW WIS" WAStxd SiV1d TIVWS ZOCOFELL
VE0rr-d/6ZA-SS4 WWS’e WW8ZLXS) ALW1d NOOAY SLLOPLEZT VSN WIWS'¢ WA8ZLXS1 ALV1Id NOOSY SLLOPLLZ SLLOPLLZ AW WINS’€ WW82Z1XSL ALV1d NOOSY SLLOVLLZ
Ve0rb-dZ64A-SSA WINS’S WINPSLXEL SLVWId NOOAY ELlOpLEZ| VSN WWs'e WAPSEXEL S31W1d NOOSY ELLOMLLZ| © ELLOMELZ AW WIWs"e WAPSLXE! AlWid NOO3SY ELLOvL EZ
VE0bb-dZ6ZA-SSI WIS’ WWOESLXLL SLV 1d NOOAY bLLLOPLLZ WSN WINS’€ WINOELXLL SiWid NOOAY bLLOVLLZ LLLOPLEZ AW WWs"e WAOELXLL SlW1d NOOSY LELOPLEZ
Veorr-dZ6ZA-SSA WINS'’ WWesex9l SALW 1d NOOSY QL00rLL ZI VSN WS"? WWesex9l 311d NOOSY QLOOFLLZ QLOOFLEL AW WWs"> WWesex9ol SLVId NOOAY QLOOFELZ
Ve0ry-dZ6ZA-SSA WIS’? WALCexbl Ald NOOSY pLoorltd| VSN WS"? WWEeexbl SLV 1d NOOAY vLOOPLEL vLoorlté AW WINS’ WAL coxph SiV id NOOSY PLOOvLL.
VE0rb-dZ6ZA-SSA WINS"b WINGS} XZL SLVWid NOOAY cboovlt2z| WSN WIS"? WANGSEXZL 3LW 1d NOOSY CLOOMILL ZLOorEls AW WWs'> WAG8LX¢L AlW1d NOOFY CLOOVLEL
VE0rb-di6ZA-SSA WINS") WWEZLXLE SLV id NOOSY bbOOvLL Z| vSn WWS'? WIWEZLXLL SiWid NOOAY LLOOPELZ bLOOvL LL AW WWs"? WWEZI XE aLWId NOOAY LLOOvELZ
Ve0rb-dZ6Z4A-SS4 WINS’ WWZSLXOL SLV1d NOOAY OLOOPLL Z| VSN WINS"? WWZSLXOL SLV1d NOOSY OLOOPLEL OLOOPLEZ AW WWS"? WIWZSL-XOL SLV 1d NOOSY OLOOFLLZ
VWe0rr-dZ6ZA-SSA WINS"? WAL X6 ALW1d NOOAY 6000rl+24] vSA WWS"? WWLPYlxX6 SLVId NOO3U]. 6000rL LL 60007112 AW WWS"? WALYLX6 SLV 1d NOORY 6000¢142
Ve0ry-dZ6ZA-SSA Ws’ WWS72Lx8 S1LV Id NOOSY sooorltZz] vwsn WINS’? NWSCLX8 SLV 1d NOOAY 8000F1 LL g000rLLZ AW WWS"? WWS¢elXx8 3LVId NOOAY g000rl LZ
Veorr-dZ6ZA-SS4 WIS’? WAWG6OLX2 S.1WId NOOSY 4000r112§ VSN WINS"? WW60LX4 SLV Id NOOSY LOOOFELL LOOOFL LL AW WINS’? WINGOLXZ SLV1d NOOAY LZO00P 1-42
Ve0rr-dZ6ZA-SSA WW S’v WWE6X9 FLW 1d NOOAY go00ortléy VSn WIS"? WWE6X9 FLV Id NOOSY 9000P1.42 90004112) AW WW S’7 WWE6x9 SLV1d NOOSY g9000rL 12
Veorr-dé6ZA-SSd WWS'? WWZZxS S1lW1d NOOAY sooorll2z| vsn WIS"? WWZ2XS SLV 1d NOOSY SOOOvLEL soo0dblL LZ AW WWS"? WNZZXS Ald NOOSY SoodblL is
Ve0rr-dZ6ZA-SS4 WWO'? SNOTVSONVI Nid 4d ChSLELLAT WSN WWO'? DNOVSA9NVI Nid dd CLSLELLL CLGLEL LL AW WWO'? SNOVAONVI Nid sd CLSLELLA
Veorb-dZ6ZA-SSA WIN0'? GSW/S9NV Nid 4d LESLELL Zp VSN WIN0'? GSAW/S5DHuVI Nid dd LESLELEL LESLELLE AW WWO'? GAW/S9NV1 Nid dd LESLELEZ
VE0rr-dZ6ZA-SSA WWO'e LYOHS/ADYV1 Nid ad OLSLELLZT VSN WIN0'? LYOHS/S9UVI Nid dd OLSLELLL OLSLELLZ AW WWO'% LYOHS/ADNV1I Nid dd OLSLELLZ
VE0rr-dZ6ZA-SSA WW9") - Nid 309 GaqvayHL dad ggzezltd] WSN WW9't - Nid 309 G30VayHL dad g9zezl ld 89CETL EZ AW WIN9'L - Nid 309 GAGVayHL dad 89CETL LL
Ve0bb-dZ6ZA-SS4 Ow SdgInd dil TiVa WWOO6XWWo'e coceltZI- VSN GOu JGIND dil TIVE WWOO6XWWO'e cosh LL ZOcBLLZ AW GOw AGIAND dil TIVd NWOO6XWWO'e cocelld
Veorr-dZ6ZA-SSA WWWoee X WS" Nid YVOOUL SCOELtLZT VSN WINOEE X WINS'E Nid YVOOUL SCOELLLL GCOELLEA AW WINOEE X WS'€ Nid YWOOUL SCOELLEZ
Ve0rr-dZ6ZA-SS4 YSaAgI LAY SYNLNS NOSM3H 6ZG4 1427 WSN YSARINLIY AYALNS NOSM3H 6LSLLLLZ 6ZSb 1412) AW USAW YLIY FYNLAS NOSM3H 6ZSLLLLZ
Ve0rb-dZ6ZA-SSA G3 § 4S YOS 1NYLs XJ LSV4 Oc4040t2] VSN G3aw $ 3S1 ¥Od LNYLS X43 ISVs OZLOZ012 0ZZ02012 AW daw $ 4S. YOs LNYLS XJ LSV4 0zZ0Z012
VE0rr-dZ6ZA-SSA SNOT LAYLS O€coZOL4} VSN ONOT LNYLS O€ZoZ01Z 0€coZorZ AW SNOT LAYLS OEZOZOLZ
Ve0rr-dZ6ZA-SS4 EXZeX0Z) Nid LNIOd SAO00 zoozzolz| VSA €Xee?X07) Nid LNIOd SAOO coozzold zo0zcold AW EXZZXOTL Nid LNIOd SAOD cO0zcols
Veorr-dZ6/A-SS4 VL X ZE'S Nid LNIOd SAOOD oozzoLz] vsn vl? xX ces Nid LNIOd SAOO LOoOzzOLZ| - -00eZOLZ AW VL X CES Nid LNIOd SAOO LOOZZOLZ
VE0br-dZ6ZA-SSA oLY xX ces Nid SAIMONM glescly VSN ob YX 2E'S Nid SAIMONM QLE8cL leet AW oly X 2&'S Nid SATMONY QLesat
VWeorr-dZ6ZA-SS4 vl bX E'S Nid SIMON» Slescly vsn VL X ZE'S Nid SHIMON SLESTL SLESTL AW VL? X ES Nid SAIMONY GLESTL

 

 

 

 

 

 

 

 

 

 

 

 
 

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S & N Internal List & Description of Malaysian Products —
Material Material Description Country of Origin
111647 TIP THR GDE PIN 2.4X305 Malaysia
124824 TR PN W/CV PT 300X60X4 FP ___ [Malaysia
124825 TR PN W/CV PT 250X40X5 FP Malaysia
124826 TR PN WI/CV PT 250X50X5 FP . Malaysia
124827 TR PN WI/CV PT 250X60X5 FP Malaysia
124828 SKTRPN W/CV PT 60X16X3 HP Malaysia
124830 TR PN W/CV PT 75X28X3 HP Malaysia
124831 TR PN WICV PT 150X50X4 HP Malaysia
124832 TR PN W/CV PT 150X35X5 HP Malaysia
124833 TR PN W/CV PT 150X50X5 HP Malaysia
124834 SK TRAC PN W/COVE 200X5 Malaysia
124836 FIXATION PIN 150X25X5 HP __- Malaysia
124837 FIXATION PIN 150X30X5 HP Malaysia
124838 FIXATION PIN 150X35X5 HP Malaysia

1124839 FIXATION PIN 150X40X5 HP Malaysia
124840 FIXATION PIN 150X45X5 HP Malaysia
124841 FIXATION PIN 150X50X5 HP Malaysia
125800 SKTRPN W/CV PT 150X35X4HP Malaysia
127820 K-WIRE THR .035X9 Malaysia
127821 K-WIRE THR DMD PT .035X9 Malaysia
127840 K-WIRE THR 045X9 Malaysia
127901 PIN ST THR DMD PT 3/32X9 Malaysia
127914 PIN ST THR TYPE A 7/64X9 Malaysia
127917 PIN ST THR TYPE D 7/64X9 Malaysia
127920 PIN ST THR 7/64X9 Malaysia
127934 PIN ST THR TYPE A 1/8X9 Malaysia
127977 PIN ST THR TYPE D 5/32X9 Malaysia
127997 PIN ST THR TYPE D 3/16X9 Malaysia
128000 PIN ST THR 3/16X9 Malaysia
128005 |K-WIRE .028X4 2PT TR Malaysia
128007 K-WIRE .028X4 2PT TR Malaysia
128030 K-WIRE .045X4 2PT TR Malaysia
128031 K-WIRE .045X4 1PT TR Malaysia
128040 K-WIRE 2DMND PT 1.1X127 Malaysia
128042 K-WIRE 0.45X9 2PT DM Malaysia
128044 ._|K-WIRE 0.45X12 PT DM Malaysia
128050 K-WIRE .062X4 2PT TR Malaysia
128058 K-WIRE TRO PT 1.9 X 140MM Malaysia
128060 K-WIRE .062X5 2PT DM Malaysia
128061 K-WIRE .062X7 2PT DM Malaysia
128062 K-WIRE .062X9 2 PT DM Malaysia
128064 K-WIRE .062X12 2 PT DM Malaysia
128097 PIN ST TYPE B 7/64X9 Malaysia
128098 PIN ST TYPE C 7/64X9 Malaysia

 

 

 

 

 
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128107 PIN ST TYPE B 1/8X9 Malaysia
128108 PIN ST TYPE C 1/8X9 Malaysia
128117 PIN ST TYPE B 9/64x9 Malaysia
128118 PIN ST TYPE C 9/64X9 Malaysia
128138 PIN ST TYPE C 3/16X9 Malaysia
128139 PIN ST TYPE D 3/16X9 Malaysia
128192 BEATH PIN Malaysia
128280 KNOWLES PIN 1/8 X 3 Malaysia
128281 KNOWLES PIN 1.8 X 3 1.4 Malaysia
128282 KNOWLES PIN 1.8 X 3 1.2 Malaysia
128283 KNOWLES PIN 1.8 X3 3.4 Malaysia
128284 KNOWLES PIN 1.8 X 4 Malaysia
128285 KNOWLES PIN 1.8 X 4 1.4 Malaysia
128307: |KNOWLES PIN 5.32 X 2 1.4 Malaysia
128309 KNOWLES PIN 5.32 X 2 3.4 Malaysia
128310 KNOWLES PIN 5/32 X 3 Malaysia
128311 KNOWLES PIN 5.32 X 3 1.4 Malaysia
128312 KNOWLES PIN 5.32 X 3 1.2 Malaysia
128313 KNOWLES PIN 5.32 X33 .4 Malaysia
128314 KNOWLES PIN 5.32 X 4 Malaysia
128315 KNOWLES PIN 5.32 X 4 1.4 Malaysia
128316 KNOWLES PIN 5.32 X 4 1.2 Malaysia
71022001 |COVE POINT PIN 5.32 X 4 1.4 Malaysia
71022002 {COVE POINT PIN 120X22X3 Malaysia
71070230 |STRUT LONG Malaysia
71070720 |FAST FX STRUT FOR TSF {} MED Malaysia
71111579 |HEWSON SUTURE RETRIEVER Malaysia
71113025 ;TROCAR PIN 3.5MM X 330MM Malaysia
7118202  |3.0MMX900MM BALL TIP GUIDE ROD {Malaysia
71123268 |PED THREADED GDE PIN - 1.6MM Malaysia
71131510 |PF PIN_LARGE/SHORT 2.0MM Malaysia
71131511 {PF PIN _LARGE/MED 2.0MM Malaysia
71131512 |PF PIN _LARGE/LONG 2.0MM Malaysia
71140005 |RECON PLATE 5X77MM 4.5MM Malaysia
71140006 {RECON PLATE 6X93MM 4.5 MM Malaysia
71140007 |RECON PLATE 7X109MM 4.5MM Malaysia
71140008 {RECON PLATE 8X125MM 4.5MM Malaysia
71140009 |RECON PLATE 9X141MM 4.5MM Malaysia
171140010 |RECON PLATE 10X157MM 4.5MM Malaysia
71140011 {RECON PLATE 11X173MM 4.5MM Malaysia
71140012 |RECON PLATE 12X189MM 4.5MM Malaysia
71140014 |RECON PLATE 14X221MM 4.5MM Malaysia
71140016 }|RECON PLATE 16X253MM 4.5MM Malaysia
71140111 {RECON PLATE 11X130MM 3.5MM Malaysia
71140113 |RECON PLATE 13X154MM 3.5MM Malaysia
71140115 Malaysia

 

RECON PLATE 15X178MM 3.5MM

 
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Malaysia

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

71140202 |SMALL PLATE 2X25MM 3.5MM

71140212 |SMALL PLATE 12X145MM 3.5MM Malaysia
71140214 |SMALL PLATE 14X169MM 3.5MM Malaysia
71140216 |SMALL PLATE 16X194MM 3.5MM Malaysia
71140220 |SMALL PLATE 20X242MM 3.5MM Malaysia
71141216 |BROAD PLATE 4.5MM 16X263MM Malaysia
71141218 |BROAD PLATE 4.5MM 18X295MM Malaysia
71173320 {2.0MM PF PIN {} AO CONNECT 18MM _ {Malaysia
71173324 |3.5MM PF PIN 18MM Malaysia
71173325 _|3.5MM PF PIN 40MM Malaysia
71173381 |TGR KWIRE 2.0MM X 350MM Malaysia
71173406 |TGR 2.7MM PF PIN 40MM Malaysia
71173438 |TGR 2.7MM PF PIN 18MM Malaysia
71631690 |3.2 TIP THREADED GUIDE WIRE Malaysia
71633230 _|KNEE NAIL GOLD 10X30 RETRO/TIB _|Malaysia
71633425 [KNEE NAIL {} GOLD $ 13X25 (SC) Malaysia
71665026 |600MM BALL TIP GUIDE ROD Malaysia

 

 

 

 

 
 

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MY descriptions

Material Maierial description

111647 TIP THR GDE PIN 2.4X305
1156645 4.5M X 14M S/T CORTEX SCREW
124824 TR PN W/CV PT 300X60X4 FP
124825 TR PN W/CV PT 250X40X5 FP
124826 TR PN WI/CV PT 250X50X5 FP
124827 TR PN W/CV PT 250X60X5 FP
124828 SKTRPN WI/CV PT 60X16X3 HP .
124830 TR PN WI/CV PT 75X28X3 HP
124831 TR PN W/CV PT 150X50X4 HP
124832 TR PN W/CV PT 150X35X5 HP
124833 TR PN W/CV PT 150X50X5 HP
124834 SK TRAC PN W/COVE 2005
124836 FIXATION PIN 150X25X5 HP
124837 FIXATION PIN 150X30X5 HP
124838 FIXATION PIN 150X35X5 HP
124839 FIXATION PIN 150X40X5 HP
124840 FIXATION PIN 150X45X5 HP
124841 FIXATION PIN 150X50X5 HP
125800 SKTRPN WI/CV PT 150X35X4HP
127820 K-WIRE THR .035X9
127821 K-WIRE THR DMD PT .035X9
127840 K-WIRE THR 045X9
127901 PIN ST THR DMD PT 3/32X9
127914 PIN ST THR TYPE A 7/64X9
127917 PIN ST THR TYPE D 7/64X9
127920 PIN ST THR 7/64X9
127934 PIN ST THR TYPE A 1/8X9
127977 PIN ST THR TYPE D 5/32X9
127997 PIN ST THR TYPE D 3/16X9°
128000 PIN ST THR 3/16X9
128005 K-WIRE .028X4 2PT TR
128007 K-WIRE .028X4 2PT TR
128030 K-WIRE .045X4 2PT TR
128031 K-WIRE .045X4 1PT TR
‘128040 K-WIRE 2DMND PT 1.1X127
128042 K-WIRE .045X9 2PT DM
128044 K-WIRE .045X12 PT DM
128050 K-WIRE .062X4 2PT TR
128058 K-WIRE TRO PT 1.9 X 140MM
128060 K-WIRE .062X5 2PT DM
128061 K-WIRE .062X7 2PT DM
128062 K-WIRE .062X9 2PT DM
128064 K-WIRE .062X12 2PT DM
128097 PIN ST TYPE B 7/64X9
128098 PIN ST TYPE C 7/64X9
128107 PIN ST TYPE B 1/8X9
128108 PIN ST TYPE C 1/8X9
 

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128117 PIN ST TYPE B 9/64x9

128118 PIN ST TYPE C 9/64X9

128138 PIN ST TYPE C 3/16X9

128139 PIN ST TYPE D 3/16X9

128192 BEATH PIN

128280 KNOWLES PIN 1/8 X 3

128281 KNOWLES PIN 1.8X 3 1.4

128282 KNOWLES PIN 1.8 X 3 1.2

428283 KNOWLES PIN 1.8X 33.4

128284 KNOWLES PIN 1.8 X 4

128285 KNOWLES PIN 1.8 X 4 1.4

128307 KNOWLES PIN 5.32 X 2 1.4

4128309 KNOWLES PIN 5.32 X 2 3.4

128310 KNOWLES PIN 5/32 X 3

128311 KNOWLES PIN 5.32 X 31.4

128312 KNOWLES PIN 5.32 X 3 1.2

128313 KNOWLES PIN 5.32 X 3 3.4

128314 KNOWLES PIN 5.32 X 4

128315 KNOWLES PIN 5.32 X 4 1.4

128316. KNOWLES PIN 5.32 X 4 1.2
71022001 COVE POINT PIN 120X16X3
71022002 COVE POINT PIN 120X22X3
71067371 QUICK CLAMP 10.5MM TO 4MM
71067372 QUICK CLAMP 10.5MM TO 5MM
71067373 QUICK CLAMP 10.5MM TO 6MM
71067374 QUICK CLAMP 10.5MM TO 10.5MM
71067375 4 HOLE PIN CLAMP
71067376 6 HOLE PIN CLAMP
71067377 QUICK CLAMP 6MM TO 4MM
71067378 QUICK CLAMP 6MM TO 6MM
71067380 QUICK CLAMP 6MM TO 5MM |
71070230 STRUT LONG
71070720 FAST FX STRUT FOR TSF {} MED
71111579 HEWSON SUTURE RETRIEVER
71113025 TROCAR PIN 3.5MM X 330MM
71118202 3.0MMX900MM BALL TIP GUIDE ROD
71123268 PED THREADED GDE PIN - 1.6MM
71128020 K-WIRE .035 X 5 2PT DM
71128040 K-WIRE {} .045 X 5 2PT DM °
71131510 PF PIN LARGE/SHORT 2.0MM
71131511 PF PIN LARGE/MED 2.0MM
71131512 PF PIN LARGE/LONG 2.0MM
71140005 RECON PLATE 5X77MM 4.5MM
71140006 RECON PLATE 6X93MM 4.5MM
71140007 RECON PLATE 7X109MM 4.5MM
71140008 RECON PLATE 8X125MM 4.5MM
71140009 RECON PLATE 9X141MM 4.5MM
71140010 RECON PLATE 10X157MM 4.5MM
- 71140011 RECON PLATE 11X173MM 4.5MM
71140012 RECON PLATE 12X189MM 4.5MM
71140014 RECON PLATE 14X221MM 4.5MM
71140016 RECON PLATE 16X253MM 4.5MM
 

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71140111 RECON PLATE 11X130MM 3.5MM
71140113 RECON PLATE 13X154MM 3.5MM
71140115 RECON PLATE 15X178MM 3.5MM
71140202 SMALL PLATE 2X25MM 3.5MM
71140212 SMALL PLATE 12X145MM 3.5MM
71140214 SMALL PLATE 14X169MM 3.5MM
71140216 SMALL PLATE 16X194MM 3.5MM
71140220 SMALL PLATE 20X242MM 3.5MM
71141216 BROAD PLATE 4.5MM 16X263MM
71141218 BROAD PLATE 4.5MM 18X295MM
71173320 2.0MM PF PIN {} AO CONNECT 18MM
71173324 3.5MM PF PIN 18MM

71173325 3.5MM PF PIN 40MM

71173381 TGR KWIRE 2.0MM X 350MM
71173406 TGR 2.7MM PF PIN 40MM

71173438 TGR 2.7MM PF PIN 18MM

71631690 3.2 TIP THREADED GUIDE WIRE
71633230 KNEE NAIL GOLD 10X30 RETRO/TIB
71633425 KNEE NAIL {} GOLD {} 13X25 (SC)
71665022 ASIAN IMHS 3.2 GUIDE PIN

71665026 600MM BALL TIP GUIDE ROD
71932480 T. S. 2/3 RING 155MM BLUE

71932481 T. S. 2/3 RING 155MM RED

71932482 T.S. 2/3 RING 155MM GOLD

71932483 T. S. 2/3 RING 155MM GREEN
71932486 180MM 2/3 RING GOLD

71932487 180MM 2/3 RING GREEN

71932488 TS FULL RING 155MM BLUE
71932489 T S FULL RING 155MM RED
71932490 TS FULL RING 155 MM GOLD
71932491 TS FULL RING 155MM GREEN
71932492 180MM FULL TS RING BLUE
71932493 180MM FULL TS RING RED

71932494 180MM FULL TS RING GOLD
71932495 180MM FULL TS RING GREEN
71933307 TSF FULL RING 275 MM

71933309 TSF 2/3 RING 275 MM

71933310 TSF FULL RING 300 MM

71933311 TSF HALF RING 300 MM

71933312 TSF 2/3 RING 300 MM

71933783 T.S. 2/3 RING 155MM PINK

71933784 180MM 2/3 RING PINK

71933785 TS FULL RING 155MM PINK
71933786 180MM FULL TS RING PINK
71933953 TSF LONG FOOT PLATE 155MM BLUE
71933954 TSF LONG FOOT PLATE 155MM RED
71933955 TSF LONG FOOT PLATE 155MM GREEN
71933956 TSF LONG FOOT PLATE 155MM PINK
71933957 TSF LONG FOOT PLATE 180MM BLUE
71933958 TSF LONG FOOT PLATE 180MM RED
71833959 TSF LONG FOOT PLATE 180MM GREEN
71933960 TSF LONG FOOT PLATE 180MM PINK
 

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71933961 TSF 1/2 RING 180MM BLUE
71933962 TSF 1/2 RING 180MM RED
71933963 TSF 1/2 RING 180MM GREEN
71933964 TSF 1/2 RING 180MM PINK
71934004 TSF FULL RING 130MM BLUE
71934005 TSF FULL RING 130MM RED
71934006 TSF FULL RING 130MM GREEN
71934007 TSF FULL RING 130MM PINK
71934008 TSF 1/2 RING 130MM BLUE
71934009 TSF 1/2 RING 130MM RED
71934010 TSF 1/2 RING 130MM GREEN
71934011 TSF 1/2 RING 130MM PINK
74012904 QUICK CONNECT TROC PIN 1/8 X 3
74473200 COVE PT PIN 120 X 28 X3MM STER
81011647 AND TN 13 X 30 130D TAN LT LIME
81011830 ANOD 13 X 30 130D TAN LT LIME
81011831 ANOD 13 {} X 32 130D TAN LT LIME
81011832 ANOD 13 X 34 130D TAN LT LIME
81011833 ANOD 13 X 36 130D TAN LT LIME
81011834 ANOD 13 X 38 130D TAN LT LIME
81011835 ANOD 13 X 40 130D TAN LT LIME
81011836 ANOD 13 X 42 130D TAN LT LIME
81011837 ANOD 13 X 44 130D TAN LT LIME
81011838 ANOD 13 X 46 130D TAN LT LIME
81011839 ANOD 13 X 48 130D TAN LT LIME
81011840 ANOD 13 X 50 130D TAN LT LIME
81011853 ANOD 10 X 30 130D TAN RT ROSE
81011854 ANOD 10 X 32 130D TAN RT ROSE
81011856 ANOD 10 X 34 130D TAN RT ROSE
81011858 ANOD 10 X 36 130D TAN RT ROSE
81011863 ANOD 10 X 38 130D TAN RT ROSE
81011866 ANOD 10 X 40 130D TAN RT ROSE
81011868 ANOD 10 X 42 130D TAN RT ROSE
81011870 ANOD 10 X 44 130D TAN RT ROSE
81011882 ANZD 10X30 130D TAN LIM
81011883 ANZD 10X32 130D TAN LIM
81011884 ANZD 10X34 130D TAN LIM
81011885 ANZD 10X36 130D TAN LIM
81011886 ANZD 10X38 130D TAN LIM
81011887 ANZD 10X40 130D TAN LIM
81011888 ANZD 10X42 130D TAN LIM
81011889 ANZD 10X44 130D TAN LIM
81011890 ANZD 10X46 130D TAN LIM
81011891 ANZD 10X48 130D TAN LIM
81011892 ANZD 10X50 130D TAN LIM
81011904 ANZD 11.5X30 130D TAN LIM
81011905 ANZD 11.5X32 130D TAN LIM
81011906 ANZD 11.5X34 130D TAN LIM
81011907 ANZD 11.5X36 130D TAN LIM
81011908 ANZD 11.5X38 130D TAN LIM.
81011909 ANZD 11.5X40 130D TAN LIM
81011910 ANZD 11.5X42 130D TAN LIM
Case 2:08-cv-02832-JTF-tmp Document 12-1 Filed 02/12/10 Page 11o0f12 -PagelD 122

81011911 ANZD 11.5X44 130D TAN LIM

81011912 ANZD 11.5X46 130D TAN LIM

81011913 ANZD 11.5X48 130D TAN LIM

81011914 ANZD 11.5X50 130D TAN LIM

81011924 ANOD 10 X 46 130D TAN RT ROSE
81011925 ANOD 10 X 48 130D TAN RT ROSE
81011926 ANOD 10 X 50 130D TAN RT ROSE
81011938 ANOD 11.5 X 30 130 TAN RT ROSE
81011939 ANOD 11.5 X 32 130 TAN RT ROSE
81011940 ANOD 11.5 X 34 130 TAN RT ROSE
81011941 ANOD 11.5 X 36 130 TAN RT ROSE
81011942 ANOD 11.5 X 40 130 TAN RT ROSE
81011943 ANOD 11.5 X 42 130 TAN RT ROSE
81011944 ANOD 11.5 X 44 130 TAN RT ROSE
81011945 ANOD 11.5 X 46 130 TAN RT ROSE
81011946 ANOD 11.5 X 48 130 TAN RT ROSE
81011959 ANOD 13 X 30 130 TAN RT ROSE
81011960 ANOD 13 X 32 130 TAN RT ROSE
81011961 ANOD 13 X 34 130 TAN RT ROSE
81011962 ANOD 13 X 36 130 TAN RT ROSE
81011963 ANOD 13 X 38 130 TAN RT ROSE
81011964 ANOD 13 X 40 130 TAN RT ROSE .
81011965 ANOD 13 X 42 130 TAN RT ROSE
81011966 ANOD 13 X 44 130 TAN RT ROSE
81011967 ANOD 13 X 46 130 TAN RT ROSE
81011968 ANOD 13 X 48 130 TAN RT ROSE
81011969 ANOD 13 X 50 130 TAN RT ROSE
81012043 AND TN 13 X 30 130D TAN LT LIME
81016069 PIN ST TYPE C 9/64 X9

81031342 O/MFG MCH TA SP FR 2/3 255MM
81039458 MACH/ANOD 155MM 2/3 TS RG BLUE
81039459 MACH/ANOD 155MM 2/3 TS RG RED
81039460 MACH/ANOD 155MM 2/3 TS RG GOLD
81039461 MACH/ANOD 155MM 2/3 TS RG GRN
81039462 MACH/ANOD 180MM 2/3 {} RG BLUE
81039463 MACH/ANOD 180MM 2/3 RG RED
81039464 MACH/ANOD 180MM 2/3 {} RG GOLD
81039465 MACH/ANOD 180MM 2/3 RG GREEN
81039471 MACH/ANOD 155MM FULL TS RG BLU

_ 81039473 MACH/ANOD 155MM FULL TS RG RED
81039474 MACH/ANOD 155MM FULL TS RG GLD
81039475 MACH/ANOD 155MM FULL TS RG GRN
81039482 MACH/ANOD 180MM FULL TS RG BLU
81039483 MACH/ANOD 180MM FULL TS RG RED
81039484 MACH/ANOD 180MM FULL TS RG GLD
81039485 MACH/ANOD 180MM FULL TS RG GRN
81048666 KIRSCHNER WIRE 2.5X80 PURCHASED
81049030 O/MFG GI! UNIVERSAL PS FMRL IMPCTR ASSY
81049031 O/MFG SPC FEMORAL IMPLANT IMPACTOR
81051987 O/MFG ANODIZE 2/3 155MM RING BLUE
81051988 O/MFG ANODIZE 2/3 155MM RING RED
81051989 O/MFG ANODIZE 2/3 155MM RING GOLD
 

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81051990 O/MFG ANODIZE 2/3 155MM RING GREEN
81052042 O/MFG ANODIZE 2/3 180MM RING BLUE
81052043 O/MFG ANODIZE 2/3 180MM RING RED
81052044 O/MFG ANODIZE 2/3 180MM RING GOLD
81052045 O/MFG ANODIZE 2/3 180MM RING GREEN
81052047 O/MFG ANODIZE FULL RING 155MM RING BLUE
81052048 O/MFG ANODIZE FULL RING 155MM RING RED
81052049 O/MFG ANODIZE FULL RING 155MM RING GOLD
81052050 O/MFG ANODIZE FULL RING 155MM RING GREEN
81052052 O/MFG ANODIZE FULL RING 180MM RING BLUE
81052053 O/MFG ANODIZE FULL RING 180MM RING RED
81052054 O/MFG ANODIZE FULL RING 180MM RING GOLD
81052055 O/MFG ANODIZE FULL RING 180MM RING GREEN
81054630 O/MFG ANO TSF FULL RING 255 MM
81054631 O/MFG ANO TSF HALF RING 255 MM
81054632 O/MFG ANO TSF 2/3 RING 255 MM
81061533 MACH/ANOD 155MM 2/3 TS RG PINK
81061534 MACH/ANOD 180MM 2/3 TS RG PINK
81061535 MACH/ANOD 155MM FULL TS RG PINK
81061536 MACH/ANOD 180MM FULL TS RG PINK
81061537 O/MFG ANODIZE 2/3 155MM RING PINK
81061538 O/MFG ANODIZE 2/3 180MM RING PINK
81061539 O/MFG ANODIZE FULL 155MM RING PINK
81061540 O/MFG ANODIZE FULL 180MM RING PINK
81065098 O/MFG ANODIZED LNG FT PLATE 155MM BLUE
81065099 O/MFG ANODIZED LNG FT PLATE 155MM RED
81065100 O/MFG ANODIZED LNG FT PLATE 155MM GREEN
81065101 O/MFG ANODIZED LNG FT PLATE 155MM PINK ,
81065102 O/MFG ANODIZED LNG FT PLATE 180MM BLUE
81065103 O/MFG ANODIZED LNG FT PLATE 180MM RED
81065104 O/MFG ANODIZED LNG FT PLATE 180MM GREEN
81065105 O/MFG ANODIZED LNG FT PLATE 180MM PINK
81065106 O/MFG ANODIZED 1/2 RING 180MM BLUE
81065107 O/MFG ANODIZED 1/2 RING 180MM RED
81065108 O/MFG ANODIZED 1/2 RING 180MM GREEN
81065109 O/MFG ANODIZED 1/2 RING 180MM PINK
81065424 O/MFG ANODIZED FULL RING 130MM BLUE
81065425 O/MFG ANODIZED FULL RING 130MM RED
81065426 O/MFG ANODIZED FULL RING 130MM GREEN
81065427 O/MFG ANODIZED FULL RING 130MM PINK
81065433 O/MFG ANODIZED 1/2 RING 130MM BLUE
81065434 O/MFG ANODIZED 1/2 RING 130MM RED
81065435 O/MFG ANODIZED 1/2 RING 130MM GREEN
81065436 O/MFG ANODIZED 1/2 RING 130MM PINK
8269220 T/TOUCH COSMETIC BUDS 72 1X12
8269240 T/TOUCH BABY BUD'S 200 1X12

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